                     IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF KANSAS

In re:                              )
                                    )
                                    )                 Case No. 20-20221
PINNACLE REGIONAL                   )
HOSPITAL, LLC,                      )                 Chapter 7
                                    )
                        Debtor.     )
___________________________________ )

                GREAT WESTERN BANK’S UNOPPOSED MOTION FOR
                         EXTENSION TO RESPOND TO
              UNITED STATES TRUSTEE’S OBJECTION TO 9019 MOTION

         Great Western Bank (“Bank”), for its Motion for Extension to Respond to the United States

Trustee’s Objection to 9019 Motion [Doc. 124] (the “Objection”), states as follows:

         1.     On November 11, 2021, Larry Pittman, in his capacity as the Chapter 7 Trustee of

Pinnacle Regional Hospital, LLC (the “Trustee”) and the Bank filed a Joint Motion to Approve

Settlement and Compromise [Doc. 114] (the “9019 Motion”).

         2.     The UST filed the Objection to the 9019 Motion on February 25, 2022.

         3.     The deadline to respond to the Objection is March 4, 2022.

         4.     The Bank and the Trustee require additional time to file a response to the Objection.

         5.     Accordingly, the Bank requests an extension of the Bank and the Trustee’s response

deadline to March 11, 2022.

         6.     Counsel for the Bank has conferred with the Trustee and the UST regarding the

requested extension and they both consent to the same.

         WHEREFORE, the Bank requests that this Court extend the deadline for the Bank and the

Trustee to respond to the Objection to and including March 11, 2022, and grant such other and

further relief as it deems just and proper.




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Dated: March 4, 2022


                                                   Respectfully submitted,

                                                   SPENCER FANE LLP


                                                   By: /s/    Peter L. Riggs
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                                                   ATTORNEYS FOR GREAT WESTERN
                                                   BANK


                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2022, a true and correct copy of the above and foregoing
was sent electronically to all parties requesting electronic notice.

                                                         /s/ Peter L. Riggs
                                                         Attorney for Great Western Bank




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